   Case 1:14-cv-00490-RJJ ECF No. 3, PageID.16 Filed 04/30/14 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                      )
                                        )
              Plaintiff,                )   Civil Case No.
                                        )
v.                                      )
                                        )
JOHN DOE subscriber assigned IP address )
98.224.254.205,                         )
                                        )
              Defendant.                )
                                        )

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO
 SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(F) CONFERENCE




                                       1
       Case 1:14-cv-00490-RJJ ECF No. 3, PageID.17 Filed 04/30/14 Page 2 of 9




                                                   TABLE OF AUTHORITIES

Accord Brown v. Owens Corning Inv. Review Comm., 622 F.3d 564, 572 (6th Cir. 2010) ......... 5
Aimster Copyright Litig., 334 F.3d 643, 645 (7th Cir. 2003)......................................................... 6
Arista Records LLC v. Does 1-19, 551 F. Supp. 2d 1, 6-7 (D.D.C. 2008)..................................... 4
Arista Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010) .......................................................... 4
Blakeslee v. Clinton County, 336 Fed.Appx. 248, 250 (3d Cir. 2009)........................................... 5
BMG Music v. Doe # 4, No. 1:08-CV-135, 2009 WL 2244108, at *3 (M.D.N.C. July 24, 2009) ..
   ............................................................................................................................................. 4, 6, 8
Columbia Ins. Co. v. Seescandy et al., 185 F.R.D. 573, 578-80 (N.D. Cal. 1999) ........................ 7
Davis v. Kelly, 160 F.3d 917, 921 (2d Cir. 1998) .......................................................................... 5
Dean v. Barber, 951 F.2d 1210, 1215 (11th Cir. 1992) .................................................................. 5
Elektra Entm‟t Group, Inc. v. Doe, No. 5:08-CV-115-FL, 2008 WL 5111886, at *4 (E.D.N.C.
   Dec. 4, 2008) ........................................................................................................................... 4, 7
Feist Publ‟ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991) .................................. 5
Green v. Doe, 260 Fed.Appx. 717, 719 (5th Cir. 2007) ................................................................. 5
Guest v. Leis, 255 F.3d 325, 336 (6th Cir. 2001) ........................................................................... 8
Interscope Records v. Does 1-14, 558 F.Supp.2d 1176, 1178 (D. Kan. 2008)............................... 9
Krueger v. Doe, 162 F.3d 1173 (10th Cir. 1998)............................................................................ 5
Maclin v. Paulson, 627 F.2d 83, 87 (7th Cir. 1980) ....................................................................... 5
Malibu Media LLC v. John Does 1-12, 12-1342, 2012 WL 5928528 (C.D. Ill. Nov. 26, 2012) ... 7
Malibu Media, LLC v. Doe, 2:13-CV-259-FTM-99, 2013 WL 2154818 (M.D. Fla. May 17,
   2013) ........................................................................................................................................... 8
Munz v. Parr, 758 F.2d 1254, 1257 (8th Cir. 1985) ....................................................................... 5
ony Music Entm‟t v. Does 1-40, 326 F.Supp.2d 556, 564-65 (S.D.N.Y. 2004)............................. 4
Patrick Collins, Inc. v. John Does 1-28, 12-13670, 2013 WL 359759 (E.D. Mich. Jan. 29, 2013) 6
Penalbert-Rosa v. Fortuno-Burset, 631 F.3d 592 (1st Cir. 2011) ................................................... 5
Raw Films, Ltd. v. John Does 1-15, CIV.A. 11-7248, 2012 WL 1019067 (E.D. Pa. Mar. 26,
   2012) ........................................................................................................................................... 6
Sony Music Entm‟t v. Does 1-40, 326 F.Supp.2d 556, 566 (S.D.N.Y. 2004)................................ 6
Sony, 326 F.Supp. at 566 ................................................................................................................ 8
Warner Bros. Records, Inc. v. Doe, No. 5:08-CV-116-FL, 2008 WL 5111883, at *4 (E.D.N.C.
   Dec 4, 2008) ................................................................................................................................ 4
Young v. Transp. Deputy Sheriff I, 340 Fed.Appx. 368 (9th Cir. 2009)........................................ 5




                                                                           2
     Case 1:14-cv-00490-RJJ ECF No. 3, PageID.18 Filed 04/30/14 Page 3 of 9




MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO
  SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

         Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff hereby respectfully submits this

Memorandum in support of its Motion for Leave to serve a third party subpoena prior to a rule

26(f) conference.

    I.      INTRODUCTION

         Plaintiff, Malibu Media, (d/b/a “X-art.com”) operates a popular subscription based

website. 1 Plaintiff creates its own content which is being infringed on a massive scale. The John

Doe Defendant‟s IP address has been habitually used to infringe Plaintiff‟s copyrighted works.

Accordingly, Plaintiff seeks leave to serve limited, immediate discovery on the John Doe

Defendant‟s Internet Service Provider, Comcast Cable (hereafter “ISP”) so that Plaintiff may

learn Defendant‟s true identity. Plaintiff is suing Defendant for using the Internet, specifically

the BitTorrent file distribution network, to commit direct copyright infringement.

         Since Defendant used the Internet to commit this infringement, Plaintiff only knows

Defendant by his Internet Protocol (“IP”) address. Defendant‟s IP address was assigned to the

Defendant by his respective Internet Service Provider (“ISP”). Accordingly, the ISP can use the

IP address to identify the Defendant. 2 Indeed, ISPs maintain internal logs, which record the date,

time and customer identity for each IP address assignment made by that ISP. Significantly, ISPs

may maintain these logs for only a short period of time. 3


1
  See Declaration of Colette Field (Exhibit A)
2
  See Declaration of Patrick Paige (Exhibit B)
3
  Statement Of Jason Weinstein Deputy Assistant Attorney General Criminal Division Before
The Committee On Judiciary Subcommittee On Crime, Terrorism, And Homeland Security
United        States      House       Of       Representatives,      (January    2011)       at
http://judiciary.house.gov/hearings/pdf/Weinstein 01252011.pdf stating: “Some [ISP] records are
kept for weeks or months; others are stored very briefly before being purged.”


                                                 3
    Case 1:14-cv-00490-RJJ ECF No. 3, PageID.19 Filed 04/30/14 Page 4 of 9




         Plaintiff seeks leave of Court to serve a Rule 45 subpoena on the Defendant‟s ISP. This

subpoena will demand the true name, address, telephone number, and e- mail address of the

Defendant.     Plaintiff will only use this information to prosecute the claims made in its

Complaint. Without this information, Plaintiff cannot serve the Defendant nor pursue this

lawsuit to protect its valuable copyrights.

   II.       ARGUMENT

         Pursuant to Rule 26(d)(1), except for circumstances not applicable here, absent a court

order, a party may not propound discovery in advance of a Rule 26(f) conference. Rule 26(b)

provides courts with the authority to issue such an order: “[f]or good cause, the court may order

discovery of any matter relevant to the subject matter involved in the action.” In Internet

infringement cases, courts routinely find good cause exists to issue a Rule 45 subpoena to

discover a Doe defendant‟s identity, prior to a Rule 26(f) conference, where: (1) plaintiff makes

a prima facie showing of a claim of copyright infringement, (2) plaintiff submits a specific

discovery request, (3) there is an absence of alternative means to obtain the subpoenaed

information, (4) there is a central need for the subpoenaed information, and (5) defendants have a

minimal expectation of privacy. See Arista Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010)

(citing Sony Music Entm’t v. Does 1-40, 326 F.Supp.2d 556, 564-65 (S.D.N.Y. 2004) (numbers

added)); Elektra Entm’t Group, Inc. v. Doe, No. 5:08-CV-115-FL, 2008 WL 5111886, at *4

(E.D.N.C. Dec. 4, 2008) (same); Warner Bros. Records, Inc. v. Doe, No. 5:08-CV-116-FL, 2008

WL 5111883, at *4 (E.D.N.C. Dec 4, 2008) (same); BMG Music v. Doe # 4, No. 1:08-CV-135,

2009 WL 2244108, at *3 (M.D.N.C. July 24, 2009) (same). See also, Arista Records LLC v.

Does 1-19, 551 F. Supp. 2d 1, 6-7 (D.D.C. 2008), and the cases cited therein, noting the

“overwhelming” number of cases where copyright infringement plaintiffs sought to ident ify



                                                4
    Case 1:14-cv-00490-RJJ ECF No. 3, PageID.20 Filed 04/30/14 Page 5 of 9




“Doe” defendants and courts “routinely applied” the good cause standard to permit discovery.

Here, Plaintiff easily satisfies all of these requirements. Accordingly, this Court should grant the

Motion.

         A.     Circuit Courts Unanimously Permit Discovery to Identify John Doe
                Defendants

         Federal Circuit Courts have unanimously approved the procedure of suing John Doe

defendants and then using discovery to identify such defendants.

          For example, the Second Circuit stated in Davis v. Kelly, 160 F.3d 917, 921 (2d Cir.

1998) that “courts have rejected the dismissal of suits against unnamed defendants . . . identified

only as „John Doe‟s . . . until the plaintiff has had some opportunity for discovery to learn the

identities.” See also, Penalbert-Rosa v. Fortuno-Burset, 631 F.3d 592 (1st Cir. 2011) (“A

plaintiff who is unaware of the identity of the person who wronged her can . . . proceed against a

„John Doe‟ . . . when discovery is likely to reveal the identity of the correct defendant.”). Accord

Brown v. Owens Corning Inv. Review Comm., 622 F.3d 564, 572 (6th Cir. 2010); Blakeslee v.

Clinton County, 336 Fed.Appx. 248, 250 (3d Cir. 2009); Young v. Transp. Deputy Sheriff I, 340

Fed.Appx. 368 (9th Cir. 2009); Green v. Doe, 260 Fed.Appx. 717, 719 (5th Cir. 2007); Krueger

v. Doe, 162 F.3d 1173 (10th Cir. 1998); Dean v. Barber, 951 F.2d 1210, 1215 (11th Cir. 1992);

Munz v. Parr, 758 F.2d 1254, 1257 (8th Cir. 1985); Maclin v. Paulson, 627 F.2d 83, 87 (7th Cir.

1980).

         B.     Good Cause Exists to Grant the Motion

                1.     Plaintiff Has a Prima Facie Claim for Copyright Infringe ment

         A prima facie claim of copyright infringement consists of two elements: (1) ownership of

a valid copyright, and (2) copying of constituent elements of the work that are original. Feist

Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991). Plaintiff satisfied the first

                                                 5
    Case 1:14-cv-00490-RJJ ECF No. 3, PageID.21 Filed 04/30/14 Page 6 of 9




good cause factor by properly pleading a cause of action for copyright infringement:

       32.     Plaintiff is the owner of the Copyrights- in-Suit, as outlined in Exhibit B,
               each of which covers an original work of authorship.

       33.     By using BitTorrent, Defendant copied and distributed the constitue nt
               elements of each of the original works covered by the Copyrights- in-Suit.

       34.     Plaintiff did not authorize, permit or consent to Defendant‟s distribution of
               its works.

Complaint at ¶¶ 32-34. See 17 U.S.C. §106; In re Aimster Copyright Litig., 334 F.3d 643, 645

(7th Cir. 2003), cert. denied, 124 S. Ct. 1069 (2004) (“Teenagers and young adults who have

access to the Internet like to swap computer files containing popular music. If the music is

copyrighted, such swapping, which involves making and transmitting a digital copy of the music,

infringes copyright.”); Raw Films, Ltd. v. John Does 1-15, CIV.A. 11-7248, 2012 WL 1019067

(E.D. Pa. Mar. 26, 2012) (“the complaint makes a prima facie claim of copyright infringement,

which requires „(1) ownership of a valid copyright, and (2) copying of constituent elements of

the work that are original.‟”); Patrick Collins, Inc. v. John Does 1-28, 12-13670, 2013 WL

359759 (E.D. Mich. Jan. 29, 2013) (same). Further, Plaintiff‟s allegations of infringement are

attested to by Plaintiff‟s investigator, IPP International UG‟s employee, Tobias Fieser.       See

Declaration of Tobias Fieser in Support of Plaintiff‟s Motion For Leave to Serve Third Party

Subpoenas Prior to a Rule 26(f) Conference (“Fieser Declaration”) at ¶¶ 13 - 16, Exhibit C.

Accordingly, Plaintiff has exceeded its obligation to plead a prima facie case.

               2.      Plaintiff Has Clearly Identified Specific Information It Seeks Through
                       Discovery

       Plaintiff seeks to discover from the Defendant‟s ISP the true name, address, telephone

number and e- mail address of the Defendant. This is all specific information that is in the

possession of the Defendant‟s ISP that will enable Plaintiff to serve process on Defendant. Since

the requested discovery is limited and specific, Plaintiff has satisfied the second good cause

                                                 6
    Case 1:14-cv-00490-RJJ ECF No. 3, PageID.22 Filed 04/30/14 Page 7 of 9




factor. Sony Music Entm’t v. Does 1-40, 326 F.Supp.2d 556, 566 (S.D.N.Y. 2004); BMG Music

v. Doe # 4, No. 1:08-CV-135, 2009 WL 2244108, at *3 (M.D.N.C. July 24, 2009) (finding under

nearly identical circumstances that “the discovery request is sufficiently specific to establish a

reasonable likelihood that the identity of Doe # 4 can be ascertained so that he or she can be

properly served”).

               3.      No Alternative Means Exist to Obtain Defendant’s True Identities

       Other than receiving the information from the Defendant‟s ISP, there is no way to obtain

Defendant‟s true identity because “records are the only available evidence that allows us to

investigate who committed crimes on the Internet. They may be the only way to learn, for

example, that a certain Internet address was used by a particular human being to engage in or

facilitate a criminal offense.” See Statement Of Jason Weinstein. Indeed, “[o]nce provided with

the IP Address, plus the date and time of the detected and documented activity, ISPs can use

their subscriber logs to identify the name, address, email address and phone number of the

applicable subscriber in control of that IP address at the stipulated date and time.”             See

Declaration of Patrick Paige at ¶ 11 (Exhibit B). Since there is no other way for Plaintiff to

obtain Defendant‟s identity, except by serving a subpoena on Defendant‟s ISP demanding it,

Plaintiff has established the third good cause factor. See Columbia Ins. Co. v. Seescandy et al.,

185 F.R.D. 573, 578-80 (N.D. Cal. 1999); Elektra Entm’t Group, Inc. v. Doe, No. 5:08-CV-115-

FL, 2008 WL 5111886, at *4 (E.D.N.C. Dec. 4, 2008) (finding that the feasibility of a suggested

alternative method of determining defendants‟ identities by hiring a private investigator to

observe downloading “is questionable at best”); Malibu Media LLC v. John Does 1-12, 12-1342,

2012 WL 5928528 (C.D. Ill. Nov. 26, 2012) (“Because of the very nature of internet

infringement, it is often the case that a plaintiff cannot identify an infringer in any way other than



                                                  7
    Case 1:14-cv-00490-RJJ ECF No. 3, PageID.23 Filed 04/30/14 Page 8 of 9




by IP number. Given the substantial federal policy underlying copyright law, it would be a

travesty to let technology overtake the legal protection of that policy”).

               4.      Plaintiff Needs the Subpoenaed Information to Advance the Asserted
                       Claims

       Obviously, without learning the Defendant‟s true identity, Plaintiff will not be able to

serve the Defendant with process and proceed with this case.        Plaintiff‟s important statutorily

protected property rights are at issue in this suit and, therefore, the equities should weigh heavily

in favor of preserving Plaintiff‟s rights. Since identifying the Defendant by name is necessary

for Plaintiff to advance the asserted claims, Plaintiff has established the fo urth good cause factor.

Sony, 326 F.Supp. at 566; BMG Music v. Doe # 4, No. 1:08-CV-135, 2009 WL 2244108, at *3

(M.D.N.C. July 24, 2009) (finding under nearly identical circumstances that “[p]laintiffs have

shown that the subpoenaed information—Doe # 4‟s identity—is centrally needed to advance

Plaintiffs‟ copyright infringement claim”); Malibu Media, LLC v. Doe, 2:13-CV-259-FTM-99,

2013 WL 2154818 (M.D. Fla. May 17, 2013) (“Plaintiff has demonstrated the need for the

subpoenaed information in order to advance its claims as there appears no other means of

obtaining this information and the information is needed in order to prosecute Plaintiff's viable

claim for copyright infringement.”)

               5.      Plaintiff’s Inte rest in Knowing Defendant’s True Identities Outweighs
                       Defendant’s Interests in Remaining Anonymous

       Plaintiff has a strong legitimate interest in protecting its copyrights.      Defendant is a

copyright infringer with no legitimate expectation of privacy in the subscriber information he

provided to his ISP, much less in distributing the copyrighted work in question without

permission. See Guest v. Leis, 255 F.3d 325, 336 (6th Cir. 2001) (“computer users do not have a

legitimate expectation of privacy in their subscriber information because they have conveyed it



                                                  8
    Case 1:14-cv-00490-RJJ ECF No. 3, PageID.24 Filed 04/30/14 Page 9 of 9




to another person—the system operator”); BMG Music v. Doe # 4, No. 1:08-CV-135, 2009 WL

2244108, at *3 (M.D.N.C. July 24, 2009) (finding under nearly identical circumstances that

“[p]laintiffs have shown that Defendant Doe # 4 has a minimal expectation of privacy in

downloading and distributing copyrighted songs without permission”); Interscope Records v.

Does 1-14, 558 F.Supp.2d 1176, 1178 (D. Kan. 2008) (a person using the Internet to distribute or

download copyrighted music without authorization is not entitled to have their identity protected

from disclosure under the First Amendment); Sony, 326 F.Supp.2d at 566 (“defendants have little

expectation of privacy in downloading and distributing copyrighted songs without permission”).

Since Defendant does not have a legitimate interest in remaining anonymous, and since Plaintiff

has a strong, statutorily recognized and protected interest in protecting its copyrights, Plaintiff

has established the fifth good cause factor.

   III.      CONCLUSION

          For the foregoing reasons, this Court should grant leave to Plaintiff to issue a Rule 45

subpoena to the ISP.

                                                      Respectfully submitted,

                                                      NICOLETTI LAW, PLC

                                               By:     /s/ Paul J. Nicoletti
                                                      Paul J. Nicoletti, Esq. (P-44419)
                                                      33717 Woodward Ave, #433
                                                      Birmingham, MI 48009
                                                      Tel: (248) 203-7800
                                                      E-Fax: (248) 928-7051
                                                      Email: pauljnicoletti@gmail.com
                                                      Attorneys for Plaintiff




                                                 9
